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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity            Case No. 25-cv-0381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                       Defendants.


                                     NOTICE OF ERRATA

       Attached is a corrected, text-searchable version of the communications filed as an exhibit

to ECF No. 57.


                                                    Respectfully submitted,


                                                    Dated: March 5, 2025

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